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UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

In re Matter of Deposition Subpoena
Served on Evan Rainwater,

 

 

Miscellaneous Case No. // g‘/'YIC ’/ 005 /” 1;'~] L`

MEMORANDUM IN SUPPORT OF
MOTION TO QUASH DEPOSITION
SUBPOENA

INTRODUCTION

Non-party Witness, Evan L. Rainwater, by his attorneys, Varin Wardwell LLC

and Ahern and Associates, P.C., provides this Memorandum in Support of his Motion to

Quash Deposition Subpoena. A subpoena for deposition and documents Was served on

Mr. Rainwater on March 1, 2018. (A copy of the deposition subpoena is attached as

Exhibit 1.)1 The motion to quash should be granted because (1) Mr. Rainwater possesses

 

1 The original return date of March 15, 2018 for the subpoena, has been extended, by agreement

of the parties, to March 29, 2018.

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no information relevant to the underlying case and sitting for the deposition Would cause
an undue burden on him, and (2) Defendants, Who seek to take Mr. Rainwater’s
deposition, have failed to comply With the Middle District of Florida’s Handbook on
Civil Discovery Practice, Which is applied by that Court in more than an advisory Way.2
BACKGROUND

The underlying action has been brought by Plaintiffs Winn-Dixie Stores, lnc. and
Bi-Lo Holding LLC against the Defendants, the largest dairy cooperatives in the United
States, for their Violation of the antitrust laws ~ Section l of the Sherrnan Act - for
agreeing to restrict the supply of raw milk and thereby increase the price of raw milk,
processed milk, and other dairy products, from 2003 through 2010, With damages
(increased prices) through 2013. Plaintiffs allege that the dairy cooperatives used the
National Milk Producers Federation to create an entity or program Within it, entitled
Cooperatives Working Together, Which in turn created and ran a supply reduction or
management program entitled the Herd Retirement Program. The CWT raised $490
million through assessments to the cooperatives’ dairy farmer members, and spent those
funds to pay dairy farmers to slaughter their dairy cow herds, both productive and

unproductive coWs, early.

 

2 “The Middle District Discovery Handbook supplements the Federal Rules of Civil Procedure
and Local Rules by capturng discovery custom and practice in this district. Handbook at 2. ‘. .. it
is an expression of generally acceptable discovery practice in the Middle District. Judges and
attorneys practicing in the Middle District should regard the handbook as highly persuasive in
addressing discovery issues.’ Handbook at 2.” Cake v. Casual Concepts, Inc., No. 3:l6-CV-102-
J-32PDB, 2017 WL 3917001, at *5 (M.D. Fla. Aug. l6, 2017). (A copy of the pertinent pages of
the Handbook are attached as Exhibit 2.)

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From before 2003 through April 30, 2008, Winn-Dixie owned its own dairy
processing plants, for Which it purchased raw milk. From 2002 through 2005, Mr.
Rainwater was the Vice President of Manufacturing for Winn-Dixie. However, he has
provided a sworn declaration stating that he did not have discussions with any raw milk
supplier regarding prices for raw milk, and did not negotiate prices of raw milk, nor any
agreements for the supply of raw milk. See Paragraph 3 of the Declaration of Evan L.
Rainwater. (A copy of his sworn declaration is attached as Exhibit 3.) ln addition, Mr.
Rainwater stated that any such discussions with raw milk suppliers, if they took place,
Would have taken place with Dwight Moore, who reported to Mr. Rainwater. Ld_. Finally,
Mr. Rainwater stated that he had never heard of the CWT or its Herd Retirement Pro gram
before receiving the subpoena. Rainwater Decl. 11 4.

Notwithstanding the facts in Mr. Rainwater’s declaration that Would indicate that
taking his deposition would be a total waste of time, Defendants insist on taking Mr.
Rainwater’s deposition because he “had responsibility” for the purchasing of raw milk,
and that they are entitled to “probe” his knowledge - nothing more specific than that as to
what they Would expect to elicit from Mr. Rainwater, given his declaration.

ANALYSIS
I. MR. RAINWATER DOES NOT HAVE INFORMATION RELEVANT

TO THE DEPOSITION SUBPOENA AND FORCING HIM TO SIT
FOR THE DEPOSITION WOULD CAUSE HIM AN UNDUE BURDEN.

Under the law of this District, Rule 45 provides that a court must quash a
subpoena if it does not seek relevant information from the non-party witness and would

cause an undue burden on the non-party witness. Federal Rule of Civil Procedure

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45(0)(3) provides a court must quash or modify a subpoena that "subjects a person to
undue burden. F.R.C.P. 45(0)(3)(A)(iv); see also Rocky Mz‘. Meal. Mgmt., LLc v. LHP
Hosp. Group, Inc., 2013 U.S. Dist. LEXIS 175590, at *6 (D. ldaho 2013). The burden of
proving that a subpoena imposes an undue burden is on the person seeking to have it
quashed Rocky Mt., 2013 U.S. Dist. LEXIS 175590, at *6 (citations omitted); see also
9A Fecl. Prac. & Proc. Civ. § 2459 (3d ed. 2013). However, the party issuing the
subpoena must demonstrate, in turn, that the information sought is relevant and material
to the allegations and claims at issue in the proceedings Rocky Mt., 2013 U.S. Dist.
LEXIS 175590, at *7; see also Green v. Baca, 226 F.R.D. 624, 654 (N.D. Cal. 2005);
United States v. Amerz'can Opz‘ical Co., 39 F.R.D. 580, 583 (N.D. Cal. 1966) (a party
seeking production must show " good cause,"_that is, that the requested documents are
necessary to establish a claim or defense, or that denial of production would be
prejudicial). ln all controverted cases, it is up to the court to strike a balance among the
degree of relevance of the requested material, the severity of the burden on the
subpoenaed person or entity, and the utility of the protective mechanisms provided by the
Federal Rules. Rocky Mz‘., 2013 U.S. Dist. LEXIS 175590, at *7; 9A Fea’. Prac. & Proc.
Civ. § 2459 (3d ed. 2013).

In determining whether an undue burden exists the court may consider: (1) the
relevance of the information requested; (2) the need of the party requesting the
documents; (3) the breadth of the discovery request; (4) the time period covered by the
request; (5) the particularity with which the requesting party has described the requested

documents; and (6) the burden imposed. Rocky Mt., 2013 U.S. Dist. LEXIS 175590, at

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*9; Precoarl v. Fairl)ank Reconsz‘ractz'on Corp., 280 F.R.D. 462, 467 (D.S.D. 2011); WM
Hz`gh Yz'ela' v. O'Hanlon, 460 F.Supp.2d 891, 895 (S.D. lnd. 2006).

In considering whether the subpoena Would unduly burden a non-party witness, a
court may consider Mr. Rainwater’s status as a non-party. Rocky Mt., 2013 U.S. Dist.
LEXIS 1755 90, at * 15 . When deciding discovery disputes, concern for the burden upon
non-parties carries "special weight." Rocky Mt., 2013 U.S. Dist. LEXIS 175590, at *15;
see also Misc. Docket Matter No. l v. Misc. Dockez‘ Matter No. 2, 197 F.3d 922, 927 (8th
Cir. 1999) (quotation omitted); Solarex Corp. v. Arco Solar, Inc., 121 F.R.D. 163, 179
(E.D.N.Y. 1988)("Of significance in balancing the competing
hardships ["‘16] [between disclosure and nondisclosure of the discovery sought] is [an
entity's] status as a nonparty to [the] litigation. Under the authorities, this factor is
significant in determining Whether compliance With a discovery demand Would constitute
an undue burden.") (quotation and citation omitted); Jack Frost Laboratories Inc. v.
Physicians & Nurses Mfg. Corp., 1994 U.S. Dist. LEXIS 261 (S.D.N.Y. 1994) ("The
most obvious burden is borne by the non-party witness, and we are instructed to be
particularly sensitive to any prejudice to non-litigants drawn against their will into the
legal disputes of others."); In re Canclor Diamond Corp., 26 B.R. 847, 849 (Bkrtcy. N.Y.
1983) ("Restrictions on discovery may be broader where a non-party is the target of
discovery to protect such third parties from unnecessary harassment, inconvenience,
expense or disclosure of confidential information.") (citation omitted).

A court should give weight to a witness’ non-party status when assessing

Defendants' need for the discovery sought from the non-party Witness. Rocky Ml., 2013

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U.S. Dist. LEXIS 175590, at *16-17; see also Katz v. Bal‘avia Marz`ne & Sporting
Supplz`es, lnc., 984 F.2d 422, 424 (Fed. Cir. 1993) ("Although Rule 26(1)) applies equally
to discovery of nonparties, the fact of nonparty status may be considered by the court in
weighing the burdens imposed in the circumstances."); Dart Inclustries Co., Inc. v.
Wesz‘wooa' Chem. Co., 649 F.2d 646, 649 (9th Cir. 1980) (discovery restrictions may be
broader When a non-party is the target of discovery); Travelers lna’emnity Co. v.
Mez‘ropolz`tan Ins. Co., 228 F.R.D. 111, 113 (D. Conn. 2005) (courts give special weight
to the burden on non-parties of producing documents to parties involved in litigation.);
Echostar Communz`cations Corp. v. News Corp. Lta’., 180 F.R.D. 391, 394 (D. Colo.
1998) ("courts are required to balance the needs for discovery against the burdens
imposed when parties are ordered to produce information or materials, and the status of a
person or entity as a non-party is a factor Which Weighs against disclosure.").

In light of Defendants' ability to obtain the information it seeks from Mr. Moore,
who they have already subpoenaed for his deposition, as well as the potential irrelevance
of Whatever information Mr. Rainwater can impart, particularly given his declaration, his
non-party status, and the burden on him to disrupt him from the duties and
responsibilities of his current job as a Senior Vice President for Albertsons that would be
caused by having to sit for the deposition, this Court should find that the sixth factor -
undue burden - weighs in favor of quashing Defendants' subpoena to Mr. Rainwater.
Rocky Mt., 2013 U.S. Dist. LEXIS 175590, at *21. As this Court has stated and held, a

court "must" quash a subpoena that subjects a person to undue burden, citing F.R.C.P.

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45(c)(3)(A)(iv). Icl. Accordingly, this Court should grant Mr. Rainwater’s Motion to

Quash the deposition subpoena.3

II. DEFENDANTS HAVE FAILED TO COMPLY WITH THE MIDDLE
DISTRICT OF FLORIDA HANDBOOK ON CIVIL DISCOVERY
PRACTICE.

Even though Mr. Rainwater’s counsel pointed out in detail to Defendants the
applicable provisions of the Middle District of Florida’s Handbook of Civil Discovery
Practice, and what those provisions require of Defendants before they take Mr.
Rainwater’s deposition, Defendants have failed to comply with the Handbook’s
provisions

Specifically, Mr. Rainwater’s counsel pointed out the following:

[Counsel], attached please find the Declaration of Evan Rainwater,
submitted in response to the deposition subpoena served on him in this
case. The declaration is submitted pursuant to Section II.A. 5 and 6 of the
Middle District of Florida Handbook on Civil Discovery
Practice. Subsection 5 provides in pertinent part:

If an Of`ficer Lacks Knowledge. Whenever an officer, director, or
managing agent of an entity is served with a deposition notice or subpoena
that contemplates testimony on a subject about which the Witness lacks
knowledge or information, that individual may submit to the noticing
party, reasonably before the date noticed for the deposition, an affidavit or
declaration under penalty of perjury so stating The noticing party
should then proceed with the deposition of the officer, director, or
managing agent initially noticed or subpoenaed only after careful
consideration and for a specific reason, provided to the deponent in
Writing in advance of the deposition.

Section 6 provides in pertinent part:

 

3 Mr. Rainwater has confirmed to his counsel that he does not have any documents responsive to
the document requests contained in the document portion of the subpoena. His counsel has
informed Defendants of that fact.

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Consideration for an Organizatio'n’s Senior Management. lf
information is sought from an oi'ganization, counsel ordinarily should not
seek in the first instance to take the deposition of the organization’s senior
management if someone else in the organization can be expected to have
more direct and firsthand knowledge or information Depositions are not
properly used as a mechanism to inconvenience or distract senior
management Who may not be immediately involved in the dispute.

ln a recent conversation, you indicated that neither provision applied to a non-
party, but Subsection 5 clearly references a “deposition subpoena.” ln addition,
there is nothing Subsection 6 which references only a party’s senior management

Finally, Subsection 5 requires the noticing party, after receiving a declaration of
an officer, should proceed With the deposition only after careful consideration and
for a specific reason, which must be provided to the deponent in writing in
advance of the deposition.

In light of all of the above and considering Mr. Rainwater’s declaration and his
position in senior management at Albertsons, we, as counsel for Mr. Rainwater in
connection with the subpoena, request that Defendants withdraw the deposition
subpoena to Mr. Rainwater. In addition, we can confirm that Mr. Rainwater has
no documents in his possession responsive to the document portion of the
subpoena

See. Exhibit 4. Notwithstanding that Mr. Rainwater’s counsel drew Defendants’
attention to the above provisions of the Middle District of Florida Handbook on Civil
Discovery Practice, Defendants responded that they had given “cai'eful consideration” to
Mr. Rainwater’s declaration, but had decided to proceed with his deposition because Mr.
Rainwater “had i'esponsibility” for the purchasing of raw milk, and they were entitled to
probe his knowledge on that issue. See Exhibit 5. However, given that Mr. Rainwater did
not have discussions with any raw milk supplier on the price of raw milk, and did not

negotiate any raw milk prices, nor negotiate any agreements for the purchase of raw milk,

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it Was incumbent on Defendants to state specifically what information they thought that
they would gain from taking Mr. Rainwater’s deposition Defendants failed to do so.

ln addition, Defendants know full well that Mr. Rainwater’s name is on two
inconsequential documents, out of the thousands that have been produced by Defendants
and Plaintiffs in the underlying case. So, it is not as if there is a treasure trove of
documents that Defendants can show Mr. Rainwater in his deposition And, if there
Were, the Handbook would require Defendants to inform Mr. Rainwater of such
documents and how they Would lead to the discovery of relevant evidence. Given l\/.[r.
Rainwater’s declaration, the question still left unanswered by Defendants’ response is
What information that is relevant to the case do they believe that they can elicit from Mr.
Rainwater. Defendants have utterly failed to answer this question, as required by the
Handbook.

In light of all of the above, and considering Mr. Rainwater’s declaration, and
Defendants’ response, Defendants have not complied with the procedure set forth in the
Handbook for taking Mr. Rainwater’s deposition Tliis provides an additional ground for
quashing the deposition subpoena.

Finally, Defendants contend that the rules regarding apex depositions ~ which
require Defendants to seek the information nom lower level employees first - do not
apply to Mr. Rainwater because he is not a senior executive of a paity. However, tlie
burden on Mr. Rainwater, as a non-paity witness, is even greater than the burden on a

senior executive of a paity.

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CONCLUSION
For each of the foregoing reasons, Mr. Rainwater respectfully requests that the

Subpoena requiring his appearance at a deposition be quashed.

RESPECTFULLY SUBMITTED March 15 , 2018,

Varin Wardwell LLC

J. 'll Varin
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